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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                      :    Crim. No. 3:15CR155(RNC)
                                               :
        v.                                     :
                                               :
 MICHAEL GRAMINS                               :

                                 ORDER OF RESTITUTION

       Pursuant to 18 U.S.C. § 3663, et seq., the defendant, MICHAEL GRAMINS, is ordered to

pay $1,240,983.91 in restitution, due and payable immediately. If payment in full is not made

within 30 days, statutory interest and penalties will accrue in accordance with 18 U.S.C. § 3612(f)

& (g). Any amount that remains unpaid at the commencement of the term of supervised release

shall be paid at a monthly rate of the greater of 10% of the defendant’s net income or $1000. This

monthly payment amount may be adjusted based on the defendant’s ability to pay as determined

by the U.S. Probation Officer and approved by the Court. All payments shall be made to the Clerk

of the United States District Court in accordance with 18 U.S.C. § 3611.

       The total amount of restitution shall be distributed to the following 21 victims in the

amounts set forth in Attachment A, on a pro rata basis.

       The Clerk shall distribute restitution payments to the victims identified in this Order as

frequently as possible, in accordance with the Clerk’s established policy for a minimum dollar

threshold amount for disbursement.

So ordered.

Dated: Hartford, Connecticut
       _______________, 2021

                                             _________________________________________
                                             THE HONORABLE ROBERT N. CHATIGNY
                                             UNITED STATES DISTRICT JUDGE
